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 2   DOUGLAS J. BEEVERS, # 282400
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 5   Fax: (916) 498-5710

 6   Attorneys for Defendant
     FERLANDO CARTER
 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     )   Case No. 2:13-cr-00267-GEB
11                                                 )
                         Plaintiff,                )   STIPULATION AND [PROPOSED] ORDER
12                                                 )   TO CONTINUE BRIEFING SCHEDULE
     vs.                                           )
13                                                 )
     FERLANDO CARTER,                              )
14                                                 )
                        Defendant.                 )   Date: January 6, 2017
15                                                 )   Time: 9:00 a.m.
                                                   )   Judge: Hon. Garland E. Burrell, Jr.
16
17           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
18   Attorney, through Justin Lee, Assistant United States Attorney, attorney for Plaintiff, and
19   Heather Williams, Federal Defender, through Assistant Federal Defender Douglas J. Beevers,
20   attorney for Ferlando Carter, that the briefing schedule and sentencing hearing be continued five
21   weeks. The new schedule will be as follows:
22           Motion for Correction of the Presentence Report shall          1/27/17
             be filed with the Court and served on the Probation
23           Officer and opposing counsel no later than:
24           Reply, or Statement of Non-Opposition:                         2/3/17
25           Judgment and Sentencing Date:                                  2/10/17
26
             Currently, the motion to correct the presentence report was due to probation on December
27
     23, 2016 and any replies or sentencing memoranda are due on December 30, 2016. However,
28

      Stipulation and Order to Continue Briefing        -1-                 U.S. v. Carter, 2:13-cr-00267-GEB
      Schedule
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 1   Mr. Carter is currently hospitalized and defense counsel has been unable to meet with him to

 2   discuss the final pre-sentence report and sentencing issues. The parties agree that a five-week

 3   continuance provides enough time for defense counsel to review the final pre-sentence report

 4   with Mr. Carter and draft a motion to correct, reply or statement of non-opposition, and

 5   sentencing memoranda. Probation is aware of this stipulation and is in agreement with the

 6   request.

 7                                                 Respectfully submitted,

 8                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
 9
10   Date: December 28, 2016                       /s/ Douglas J. Beevers
                                                   DOUGLAS J. BEEVERS
11                                                 Assistant Federal Defender
                                                   Attorneys for Defendant
12                                                 FERLANDO CARTER

13   Date: December 28, 2016                       PHILLIP A. TALBERT
                                                   United States Attorney
14
15                                                 /s/ Justin Lee
                                                   JUSTIN LEE
16                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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      Stipulation and Order to Continue Briefing     -2-                  U.S. v. Carter, 2:13-cr-00267-GEB
      Schedule
      Case 2:13-cr-00267-TLN Document 123 Filed 01/03/17 Page 3 of 3


 1                                                 ORDER

 2           The Court, having received, read, and considered the parties’ stipulation, and good cause

 3   appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court orders

 4   the formal objections are now due on January 27, 2017, any replies or statements of non-
 5   opposition are now due on February 3, 2017, and the sentencing hearing is now scheduled for
 6   February 10, 2017 at 9:30 a.m.
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 8   IT IS SO ORDERED.
 9   Dated: January 3, 2017
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      Stipulation and Order to Continue Briefing      -3-                  U.S. v. Carter, 2:13-cr-00267-GEB
      Schedule
